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1                               UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     WILLIE T. SMITH,                                       Case No. 2:19-cv-01983-JAD-VCF
4                                             Plaintiff                     ORDER
5            v.
6     J. NASH, et al.,
7                                         Defendants
8
9
10   I.     DISCUSSION

11          On October 28, 2020, the Court issued a screening order granting Plaintiff leave

12   to amend and directed the Clerk’s Office to send Plaintiff a copy of his original complaint.

13   (ECF No. 4 at 7). According to Plaintiff and his documentation, the Clerk’s Office did not

14   provide him with a copy of his complaint. (ECF No. 6 at 3). Plaintiff now files motions to

15   obtain a copy of his complaint and an extension of time to file his amended complaint.

16   (ECF Nos. 6, 7).

17          The Court grants Plaintiff’s motion for a copy of his complaint (ECF No. 6). The

18   Court also grants Plaintiff’s motion for an extension of time to file his amended complaint

19   (ECF No. 7). Plaintiff will file his amended complaint on or before Friday, December 11,

20   2020, or this action will be subject to dismissal without prejudice for failure to state a claim.

21   II.    CONCLUSION

22          For the foregoing reasons, it is ordered that the motion for copy of complaint (ECF

23   No. 6) is granted.

24          It is further ordered that the Clerk of the Court will send Plaintiff a copy of his

25   original complaint (ECF No. 5).

26          It is further ordered that the motion for extension of time (ECF No. 7) is granted.

27          It is further ordered that Plaintiff will file his amended complaint on or before Friday,

28   December 11, 2020.
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1           It is further ordered that, if Plaintiff fails to timely file his amended complaint, this
2    action will be subject to dismissal without prejudice for failure to state a claim.
3
                       6th
4           DATED THIS ___ day of November 2020.
5
6                                                UNITED STATES MAGISTRATE JUDGE
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